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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

DAVID D. WILBON, RICO M. WILBON,
and GEORGE J. SMITH, Case No, 12 C 01132

Plaintiffs, JUDGE MARVIN E, ASPEN

vs, Magistrate Judge Soat-Brown

(Star #6082), KEVIN A. GRANEY, ROBERT
MANGAN, MICHAEL T. KARCZEWSKI,

SARAH McDERMOTT, NOEL ESQUIVEL,
ANTONIO J, VALENTIN, MARK A. KUSHINER,
JORGE CERDA, ARMANDO SILVA, JR.,
RAFAEL §S. GARCIA, J.J. GORZKOWSKI,
UNKNOWN OFFICERS OF THE CHICAGO
POLICE DEPARTMENT and CITY OF CHICAGO)

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JOSEPH M. PLOVANICH, OFFICER MILLAN _ )
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Defendants. deg ey

DEFENDANT OFFICER KUSHINER’S ANSWER TO PLAINTIFFS’
FIRST SET OF REQUESTS TO ADMIT

Defendant Officer Kushiner for his answer to Plaintiffs’ first set of Requests to Admit,
states as follows:

1) Mark A. Kushiner was on the!300 block of N. Menard Street, Chicago, IL, at
approximately 2:00 AM on April 10, 2010.

ANSWER: Kushiner denies this request to admit.

2a) Mark A. Kushiner did not see David D. Wilbon on the 1300 block of N.
Menard Street, Chicago, IL, at approximately 2:00 AM on April 10, 2010.

ANSWER: Kushiner admits this request to admit.

2b) | Mark A. Kushiner did not see Rico M. Wilbon on the 1300 block of N. Menard
Street, Chicago, IL, at approximately 2:00 AM on April’ 10, 2010.

ANSWER: Kushiner admits this request to admit.

2c) Mark A. Kushiner did not see George J. Smith on the 1300 block of N. Menard
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Street, Chicago, IL, at approximately 2:00 AM on April 10, 2010.
ANSWER: Kushiner admits this request to admit.

3a) Mark A. Kushiner did not see David D. Wilbon fighting on the 1300 block of N.
Menard Street, Chicago, IL, at approximately 2:00 AM on April 10, 2010.

ANSWER: Kushiner objects to this request to admit on the ground that the term “fighting”
is ambiguous. Subject to and without waiving said‘dbjection, Kushiner admits this request
to admit.

3b) Mark A. Kushiner did not see Rico M. Wilbon fighting on the 1300 block of N.
Menard Street, Chicago, IL, at approximately 2:00 AM on April 10, 2010.

ANSWER: Kushiner objects to this request to admit on the ground that the term “fighting”
is ambiguous. ‘Subject to and without waiving said objection, Kushiner admits this request
to admit.

3c) MarkA. Kushiner did not see George J. Smith fighting on the 1300 block of N.
Menard Street, Chicago, IL, at approximately 2:00 AM on April 10, 2010.

ANSWER: Kushiner objects to this request to admit on the ground that the term “fighting”
is ambiguous. Subject to and without waiving said objection, Kushiner admits this request
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to admit.

4a) Mark A. Kushiner did not see David D. Wilbon yelling on the 1300 block of N.
Menard Street, Chicago, IL, at approximately 2:00 AM on April 10, 2010.

ANSWER: Kushiner objects to this request to admit on the ground that the term “velling”
is ambiguous. Subject to and without waiving said objection, Kushiner admits this request
to admit.

4b) Mark A. Kushiner did not see Rico M. Wilbon yelling on the 1300 block
of N. Menard Street, Chicago, IL, at approximately 2:00 AM on April 10, 2010.

ANSWER: Kushiner objects to this request to admit on the ground that the term “yelling”

is ambiguous. Subject to and without waiving said objection, Kushiner admits this request
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to admit.

4c) | Mark A. Kushiner did not see George J. Smith yelling on the 1300 block
of N. Menard Street, Chicago, IL, at approximately 2:00 AM on April 10, 2010.

ANSWER: Kushiner objects to this request to admit on the ground that the term “velling”
is ambiguous. Subject to and without waiving said objection, Kushiner admits this request
to admit.

Sa) Mark A. Kushiner did not see David D. Wilbon throwing bottles while on the
public way on the 1300 block of N. Menard Street, Chicago, IL, at approximately 2:00 AM on
April 10, 2010.

ANSWER: Kushiner admits this request to admit.

5b) | Mark A. Kushiner did not see Rico M. Wilbon throwing bottles while on
the public way on the 1300 block of N. Menard Street, Chicago, IL, at approximately 2:00 AM
on April 10, 2010.

ANSWER: Kushiner admits this request to admit.

5c) Mark A. Kushiner did not see George J. Smith throwing bottles while on
the public way on the 1300 block of N. Menard Street, Chicago, IL, at approximately 2:00 AM
on April 10, 2010.

ANSWER: Kushiner admits this request to admit.

6) Mark A. Kushiner did not see David D. Wilbon throw a glass beer bottle
at Chicago Police Officer Millan on the 1300 block of N. Menard Street, Chicago, IL, at
approximately 2:00 AM on April 10, 2010.

ANSWER: Kushiner admits this request to admit.

7) Mark A. Kushiner did not see David D. Wilbon throw a glass beer bottle
at any Chicago police officer on the 1300 block of N. Menard Street, Chicago, IL, at
approximately 2:00 AM on April 10, 2010.

ANSWER: Kushiner admits this request to admit.

8a) Mark A. Kushiner did not observe David D. Wilbon committing any crimes on
the 1300 block of N. Menard Street, Chicago, IL, at approximately 2:00 AM on April 10, 2010.

ANSWER: Kushiner objects to this request to admit on the ground that the term “observe”
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is ambiguous. Subject to and without waiving said objection, Kushiner admits that he did
not see David D. Wilbon commit any crimes on the 1300 block of N. Menard Street,
Chicago, IL, at approximately 2:00 AM on April 10, 2010.

8b) Mark A. Kushiner did not observe Rico M. Wilbon committing any crimes on the
1300 block of N. Menard Street, Chicago, IL, at approximately 2:00 AM on April 10, 2010.

ANSWER: Kushiner objects to this request to admit on the ground that the term “observe”
is ambiguous. Subject to and without waiving said objection, Kushiner admits that he did
not see Rico M. Wilbon commit any crimes on the 1300 block of N. Menard Street,
Chicago, IL, at approximately 2:00 AM on April 10, 2010.

8c) | Mark A. Kushiner did not observe George J. Smith committing any crimes on the
1300 block of N. Menard Street, Chicago, IL, at approximately 2:00 AM on April 10, 2010.

ANSWER: Kushiner objects to this request to admit on the ground that the term “observe”
is ambiguous, Subject to and without waiving said objection, Kushiner admits that he did
not see George J. Smith commit any crimes on the 1300 block of N. Menard Street,
Chicago, IL, at approximately 2:00 AM on April 10, 2010.

9a) Mark A. Kushiner does not claim he had probable cause to arrest David
D. Wilbon based on any observations he himself made of David D. Wilbon on the 1300 block of
N. Menard Street, Chicago, IL, at approximately 2:00 AM on April 10, 2010.
ANSWER: Kushiner objects to this request to admit on the ground that the term
“observations” is ambiguous. Subject to and without waiving said objection, Kushiner
admits that he does not claim that he had probable cause to arrest David D. Wilbon based
on anything that he saw David D. Wilbon do on the 1300 block of N. Menard Street,
Chicago, IL, at approximately 2:00 AM on April 10, 2010.

9b) Mark A. Kushiner does not claim he’ probable cause to arrest Rico M. Wilbon

based on any observations he himself made of Rico M. Wilbon on the 1300 block of N. Menard
Street, Chicago, II, at approximately 2:00 AM on April 10, 2010.

 
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ANSWER: Kushiner objects to this request to admit on the ground that the term
“observations” is ambiguous. Subject to and without waiving said objection, Kushiner
admits that he does not claim that he had probable cause to arrest Rico M. Wilbon based
on anything that he saw Rico M. Wilbon do on the 1300 block of N. Menard Street,
Chicago, IL, at approximately 2:00 AM on April.10;.2010.

9c) Mark A. Kushiner does not claim he had probable cause to arrest George
J. Smith based on any observations he himself made of George J. Smith on the 1300 block of N.
Menard Street, Chicago, IL, at approximately 2:00 AM on April 10, 2010.
ANSWER: Kushiner objects to this request to admit on the ground that the term
“observations” is ambiguous. Subject to and without waiving said objection, Kushiner
admits that he does not claim that he had probable cause to arrest George J. Smith based
on anything that he saw George J. Smith do on the 1300 block of N. Menard Street,
Chicago, IL, at approximately 2:00 AM on April 10, 2010.

10) Mark A, Kushiner was on the 5700 block of W Madison Street, Chicago, IL
across from the Chicago Police Department, 15th District station, at approximately 2:30 AM on
April 10, 2010.

ANSWER: Kushiner admits this request to admit. & ee

11a) Mark A. Kushiner observed David D. Wilbon in a vehicle on the 5700 block of
W. Madison, Chicago, IL, at approximately 2:30 AM on April 10, 2010.

ANSWER: Kushiner objects to this request to admit on the ground that the term
“observed” is ambiguous. Subject to and without waiving said objection, Kushiner admits
that he saw David D. Wilbon in a vehicle on the 5700 block of W. Madison, Chicago, IL, at
approximately 2:30 AM on April 10, 2010.

11 b) Mark A. Kushiner observed Rico M. Wilbon in a vehicle on the 5700 block of W.
Madison, Chicago, IL, at approximately 2:30 AM on April 10, 2010.

ANSWER: Kushiner objects to this request to admit on the ground that the term

 
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“observed” is ambiguous. Subject to and without waiving said objection, Kushiner admits
that he saw Rico-M. Wilbon in a vehicle on the 3700 block of W. Madison, Chicago, IL, at
approximately 2:30 AM on April 10, 2010.

llc) Mark A. Kushiner observed David D. Wilbon in a vehicle on the 5700 block of
W. Madison, Chicago, IL, at approximately 2:30 AM on April 10, 2010.

ANSWER: Kushiner objects to this request to admit on the ground that the term
“observed” is ambiguous. Subject to and without waiving said objection, Kushiner admits
that he saw David D. Wilbon in a vehicle on the 5700 block of W. Madison, Chicago, IL, at
approximately 2:30 AM on April 10, 2010.

12a) Mark A. Kushiner did not observe David D. Wilbon commit any crimes while on
the 5700 block of W. Madison in Chicago, Hlinois at approximately 2:30 AM on April 10, 2010.

ANSWER: Kushiner objects to this request to admit on the ground that the term “observe”
is ambiguous. Subject to and without waiving said objection, Kushiner admits that he did
not see David D. Wilbon commit any crimes while on the 5700 block of W. Madison in
Chicago, Ilinois at approximately 2:30 AM on April 10, 2010.

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12b) Mark A. Kushiner did not observe Rico M. Wilbon commit any crimes while on
the 5700 block of W, Madison in Chicago, Illinois at approximately 2:30 AM on April 10, 2010.

ANSWER: Kushiner objects to this request to admit on the ground that the term “observe”
is ambiguous. Subject to and without waiving said objection, Kushiner admits that he did
not see Rico M. Wilbon commit any crimes while on the 5700 block of W. Madison in
Chicago, Illinois at approximately 2:30 AM on April 10, 2010.

12c) Mark A. Kushiner did not observe George J. Smith commit any crimes while on
the 5700 block of W. Madison in Chicago, Illinois at approximately 2:30 AM on April 10, 2010.

ANSWER: Kushiner objects to this request to admit on the ground that the term “observe”

is ambiguous. Subject to and without waiving said objection, Kushiner admits that he did
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not see George J. Smith commit any crimes while on the 5700 block of W. Madison in
Chicago, Illinois at approximately 2:30 AM on April 10, 2010.

13a) Based on his own observations, Mark A. Kushiner cannot state any facts to
support probable cause to believe that David D. Wilbon was committing any crimes while on the
5700 block of W. Madison in Chicago, Illinois at approximately 2:30 AM on April 10, 2010,
ANSWER: Kushiner objects to this request to admit on the ground that the term
“observations” is ambiguous. Subject to and without waiving said objection, Kushiner
admits that based on what he saw, he cannot state any facts to support probable cause to
believe that David D. Wilbon was committing any crimes while on the 5700 block of W.
Madison in Chicago, Iflinois at approximately 2:30 A.M. on April 10, 2010.

13b) Based on his own observations, Mark A. Kushiner cannot state any facts to
support probable cause to believe that Rico M. Wilbon was committing any crimes while on the
5700 block of W. Madison in Chicago, Illinois at approximately 2:30 AM on April 10, 2010.
ANSWER: Kushiner objects to this request to adinit on 1 the ground that the term
“observations” is ambiguous, Subject to and without waiving said objection, Kushiner
admits that based on what he saw, he cannot state any facts to support probable cause to
believe that Rico M. Wilbon was committing any crimes while on the 5700 block of W.
Madison in Chicago, Illinois at approximately 2:30 A.M. on April 10, 2010.

13c) Based on his own observations, Mark A. Kushiner cannot state any facts to
support probable cause to believe that George J. Smith was committing any crimes while on the
5700 block of W. Madison in Chicago, Illinois at approximately 2:30 AM on April 10, 2010.
ANSWER: Kushiner objects to this request to admit on the ground that the term
“observations” is ambiguous. Subject to and without waiving said objection, Kushiner
denies that based on what he saw, he cannot state e any facts to support probable cause to

believe that George J. Smith was committing any crimes s while on the 5700 block of W.

Madison in Chicago, Illinois at approximately 2:30 A.M. on April 10, 2010.
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14a) Mark A. Kushiner does not claim that he had probable cause to believe that David
D. Wilbon was committing any crimes while on the 5700 block of W. Madison in Chicago,
Ulinois at approximately 2:30 AM on April 10, 2010, based on his own observations.
ANSWER: Kushiner objects to this request to admit on the ground that the term
“observations” is ambiguous. Subject to and without waiving said objection, Kushiner
admits that based on what he saw, he does not claim, that he had probable cause to believe |
that David D. Wilbon was committing any crimes 5 while on the 5700 block of W. Madison in
Chicago, Illinois. at approximately 2:30 AM on April 10, 2010.

14b) Mark A. Kushiner does not claim that he had probable cause to believe that Rico
M. Wilbon was committing any crimes while on the 5700 block of W. Madison in Chicago,
Illinois at approximately 2:30 AM on April 10, 2010, based on his own observations.
ANSWER: Kushiner objects to this request to admit on the ground that the term
“observations” is ambiguous. Subject to and without waiving said objection, Kushiner
admits that based on what he saw, he does not claim that he had probable cause to believe
that Rico M. Wilbon was committing any crimes while on the 5700 block of W. Madison in
Chicago, Illinois at approximately 2:30 AM on April 10, 2010.

14¢) Mark A, Kushiner does not claim that he had probable cause to believe that
George J. Smith was committing any crimes while on the $700 block of W. Madison in Chicago,
Illinois at approximately 2:30 AM on April 10, 2010, based on his own observations,
ANSWER: Kushiner objects to this request to admit on the ground that the term
“observations” is ambiguous. Subject to and without waiving said objection, Kushiner
denies that based on what he saw, he does not claim that he had probable cause to believe
that George J. Smith was committing any crimes while on the 5700 block of W. Madison in
Chicago, Hlinois at approximately 2:30 AM on April 10, 2010.

15) The vehicle that David D. Wilbon, Rico M. Wilbon, and George J, Smith were in

on the 5700 block of W. Madison in Chicago, Illinois at approximately 2:30 AM on April 10,
2010, was legally parked.

 
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ANSWER: Kushiner objects to this request to admit on the ground that it calls for a legal
conclusion (ée., whether the vehicle was “legally parked”), Subject to and without waiving
said objection, Kushiner states that he has made a reasonable inquiry and the information
known or readily obtainable to him is insufficient to enable him to admit or deny the truth
of the matter set forth in this request.

16) | Mark A. Kushiner had no probable cause to believe that the driver of the vehicle
that David D. Wilbon, Rico M. Wilbon, and George J. Smith were in on the 5700 block of W.
Madison in Chicago, Illinois at approximately 2:30 AM on April 10, 2010 was committing any
violation of any traffic law.
ANSWER: Kushiner objects to this request to admit on the ground that it calls for a legal
conclusion (i.¢., whether the driver of the vehicle committed “any violation of any traffic
law”). Subject to and without waiving said objection, Kushiner states that he has made a
reasonable inquiry and the information known or readily obtainable to him is insufficient

to enable him to admit or deny the truth of the matter set forth in this request.

17a) Mark A. Kushiner stopped David D. Wilbon on the 5700 block of W. Madison in
Chicago, Illinois at approximately 2:30 AM on April 10, 2010.

ANSWER: Kushiner objects to this request to admit on the ground that the term
“stopped” is ambiguous. Subject to and without waiving said objection, Kushiner admits
that he did not stop the vehicle that David D. Wilbon was in on the 5700 block of W.
Madison in Chicago, Illinois at approximately 2:30 AM on April 10, 2010.

17b) Mark A. Kushiner stopped Rico M. Wilbon on the 5700 block of W. Madison in
Chicago, Illinois at approximately 2:30 AM on April 10, 2010,

ANSWER: Kushiner objects to this request to admit on the ground that the term
“stopped” is ambiguous, Subject to and without waiving said objection, Kushiner admits
that he did not stop the vehicle that Rico M. Wilbon was in on the 5700 block of W.

Madison in Chicago, Illinois at approximately 2:30 AM on April 10, 2010.
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17c) Mark A. Kushiner stopped George J. Smith on the 5700 block of W. Madison in
Chicago, Illinois at approximately 2:30 AM on April 10, 2010.

 

ANSWER: Kusiner objects to this request to adtii ‘on the ground that the term “stopped”
is ambiguous. Subject to and without waiving said objection, Kushiner admits that he did
not stop the vehicle that George J. Smith was in on the 5700 block of W. Madison in
Chicago, Illinois at approximately 2:30 AM on April 10, 2010.

18a) Mark A. Kushiner arrested David D. Wilbon on the 5700 block of W. Madison in
Chicago, Hlinois at approximately 2:30 AM on April 10, 2010.

ANSWER: Kushiner states that he has made a reasonable inquiry and the information
known or readily obtainable to him is insufficient to enable him to admit or deny the truth
of the matter set forth in this request. Kushiner assisted with the arrest of one or more
individuals, one of whom may have been David D. Wilbon, on the 5700 block of W.
Madison in Chicago, Illinois at approximately 2:30/AM on April 10, 2010.

18b) Mark A. Kushiner arrested Rico M. Wilbon on the 5700 block of W. Madison in
Chicago, Illinois at approximately 2:30 AM on April 10, 2010.

ANSWER: Kushiner states that he has made a reasonable inquiry and the information
known or readily obtainable to him is insufficient to enable him to admit or deny the truth
of the matter set forth in this request. Kushiner assisted with the arrest of one or more
individuals, one of whom may have been Rico M. Wilbon, on the 5700 block of W. Madison
in Chicago, Illinois at approximately 2:30 AM on April 10, 2010.

18c) Mark A. Kushiner arrested George J. Smith on the 5700 block of W. Madison in
Chicago, Illinois at approximately 2:30 AM on April 10, 2010.

ANSWER: Kushiner states that he has made a reasonable inquiry and the information

 

known or readily obtainable to him i is insufficient té enable | him to admit or deny the truth

of the matter set forth in this request. Kushiner assisted with the arrest of one or more
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individuals, one of whom may have been George J. Smith, on the 5700 block of W. Madison
in Chicago, Illinois at approximately 2:30 AM on April 10, 2010.

19a) Mark A. Kushiner was present when David D, Wilbon was arrested on the 5700
block of W. Madison in Chicago, Iinois at approximately 2:30 AM on April 10, 2010.

ANSWER: Kushiner admits this request to admit...

19b) Mark A, Kushiner was present when Rico M. Wilbon was arrested on the 5700
block of W. Madison in Chicago, Illinois at approximately 2:30 AM on April 10, 2010.

ANSWER: Kushiner admits this request to admit.

19c) Mark A. Kushiner was present when George J. Smith was arrested on the 5700
block of W. Madison in Chicago, Illinois at approximately 2:30 AM on April 10, 2010.

ANSWER: Kushiner admits this request to admit.

20) Mark A. Kushiner never spoke to Kevin Thornton on the 5700 block of W.
Madison in Chicago, Illinois at approximately 2:30 AM on April 10, 2010.

ANSWER: Kushiner denies that he never spoke to Kevin Thornton or Keith Thornton on

the 5700 block of W. Madison in Chicago, Illinois at approximately 2:30 AM on April 10,

2010.

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21) Mark A. Kushiner never heard Kevin Thornton say anything on the 5700
block of W. Madison in Chicago, Illinois at approximately 2:30 AM on April 10, 2010.

ANSWER: Kushiner denies that he never heard Kevin Thornton or Keith Thornton say
anything on the 5700 block of W. Madison in Chicago, IHinois at approximately 2:30 AM
on April 10, 2010.

22a) Mark A. Kushiner never talked to any witness who stated that he saw David D.
Wilbon commit any crimes on the 1300 block of N. Menard, Chicago, Illinois at approximately
2:00 AM on April 10, 2010.

ANSWER: Kushiner denies this request to admit.

22b) Mark A. Kushiner never talked to any witness who stated that he saw Rico M.

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Wilbon commit any crimes on the 1300 block of N. Menard, Chicago, Illinois at approximately
2:00 AM on April 10, 2010.

ANSWER: Kushiner denies this request to admit.

22c) Mark A. Kushiner never talked to any witness who stated that he saw George J.
Smith commit any crimes on the 1300 block of N. Menard, Chicago, Illinois at approximately
2:00 AM on April 10, 2010.

ANSWER: Kushiner denies this request to admit,

23) Mark A. Kushiner never talked to any witness on the 5700 block of W. Madison
in Chicago, Illinois at approximately 2:30 AM on April 10, 2010, regarding events occurring on
the 1300 block of N. Menard, Chicago, Illinois,

ANSWER: Kushiner denies this request to admit. :

24a) Nothing Kevin Thornton said to Mark A. Kushiner gave him probable cause to
believe that David D. Wilbon had committed any criminal acts.

ANSWER: Kushiner denies that nothing Kevin Thornton or Keith Thornton said to
Kushiner gave him probable cause to believe that David D. Wilbon had committed any
criminal acts.

24b) Nothing Kevin Thornton said to Mark A. Kushiner gave him probable cause to
believe that David D. Wilbon had committed any criminal acts.

ANSWER: Kushiner denies that nothing Kevin Thornton or Keith Thornton said to
Kushiner gave him probable cause to believe that David D. Wilbon had committed any
criminal acts.

24c) Nothing Kevin Thornton said to Mark A. Kushiner gave him probable cause to
believe that David D. Wilbon had committed any criminal acts.

ANSWER: Kushiner denies that nothing Kevin Thornton or Keith Thornton said to
Kushiner gave him probable cause to believe that David D. Wilbon had committed any
criminal acts.

25a) Mark A. Kushiner did not appear in court at any hearing or trial to testify against or
trial to testify against David D. Wilbon for criminal charges brought on April 10, 2010.
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ANSWER: Kushiner states that he has made a reasonable inquiry and the information
known or readily obtainable to him is insufficient to enable him to admit or deny the truth
of the matter set forth in this request. Kushiner was notified to appear in court for a
criminal case against David D. Wilbon, but does not recall for which court dates he was
notified or appeared.

25b) Mark A. Kushiner did not appear in court at any hearing or trial to testify against
Rico M. Wilbon for criminal charges filed on April 10, 2010.

ANSWER: Kushiner states that he has made a reasonable inquiry and the information
known or readily obtainable to him is insufficient to enable him to admit or deny the truth
of the matter set forth in this request. Kushiner was notified to appear in court for a
criminal case against Rico M. Wilbon, but does not recall for which court dates he was
notified or appeared.

25c) Mark A. Kushiner did not appear in court at any hearing or trial to testify against
George J. Smith for criminal charges filed on April 10, 2010.

ANSWER: Kushiner states that he has made a reasonable inquiry and the information
known or readily obtainable to him is insufficient to enable him to admit or deny the truth
of the matter set forth in this request. Kushiner was notified to appear in court for a
criminal case against George J. Smith, but does not recall for which court dates he was
notified or appeared.

26a) The criminal charges filed on April 10, 2010, against David D. Wilbon were
stricken on leave to re-file,

ANSWER: Upon information and belief, Kushiner admits this request to admit.

26b) The criminal charges filed on April 10, 2010, against Rico M. Wilbon were stricken
on leave to re-file.

ANSWER: Upon information and belief, Kushiner admits this request to admit.
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26c) The criminal charges filed on April 10, 2010, against George J, Smith were stricken
on leave to re-file.

ANSWER: Upon information and belief, Kushiner admits this request to admit.

27a) Mark A. Kushiner never requested the State’s Attorney’s Office reinstate the
criminal charges filed against David D. Wilbon on April 10, 2010, after they were stricken on
leave to re-file.
ANSWER: Kushiner admits this request to admit..

27b) Mark A. Kushiner never requested that the State's Attorney's Office reinstate the
criminal charges filed against Rico M. Wilbon on April 10, 2010, after they were stricken on
leave to re-file.
ANSWER: Kushiner admits this request to admit.

27c) Mark A. Kushiner never requested that the State's Attorney's Office reinstate the
criminal charges filed against George J. Smith on April 10, 2010, after they were stricken on

leave to re-file.

ANSWER: Kushiner admits this request to admit.

DATED: July 26, 2012

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SUNIL BHAVE _
Assistant Corporation Counsel

City of Chicago, Law Department
30 N. LaSalle St., Suite 900
Chicago, Illinois 60602

(312) 742-0305

Attorney No. 06285750
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CERTIFICATE OF SERVICE
I hereby certify that I have served this Officer Kushiner’s Answers and Objections to

Plaintiffs’ Request to Admit by causing them to be delivered via hand delivery, this 26" day of

July, 2012 to

Irene Dymkar
Attorney for Plaintiffs

  

 

SUNIL BHAVE
Assistant Corporation Counsel

City of Chicago, Law Department
30 N. LaSalle, Suite 900

Chicago, Illinois 60602

(312) 744-0742 ~

Attorney No, 06285750
